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   8
   9
                          UNITED STATES DISTRICT COURT
 10
                        CENTRAL DISTRICT OF CALIFORNIA
 11
                                  WESTERN DIVISION
 12
 13
       BOOST BEAUTY, LLC, a California         Case No. 2:18-cv-02960-CAS-E
 14    limited liability company,              Hon. Christina A. Snyder

 15               Plaintiff,
                                               MEMORANDUM OF POINTS AND
 16       v.
                                               AUTHORITIES IN SUPPORT OF
 17    WOO SIGNATURES, LLC, a California       MOTION FOR (1) TERMINATING
       limited liability company; TADEH        AND FINANCIAL SANCTIONS
 18    BOOGHOSIANSSARDABI, an
       individual; FARSHID KARAMZAD            AND (2) DISMISSAL WITH
 19    GOFLSAZ, an individual; ARASH           PREJUDICE OF COPYRIGHT
       SEDIGHI, an individual; and DOES 1      CLAIMS AND (3) FEES UNDER
 20    through 10, inclusive,
                                               THE COPYRIGHT ACT
 21               Defendants.
                                               Date:    October 28, 2019
 22                                            Time:    10:00 a.m.
                                               Crtrm.   8D
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                         MEMORANDUM OF POINTS AND AUTHORITIES
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   1                 MEMORANDUM OF POINTS AND AUTHORITIES
   2   I.    INTRODUCTION
   3         This motion seeks a serious remedy and is not filed lightly. Plaintiff pursued
   4   a copyright claim based on an application to the Copyright Office for a Google ad
   5   that was the subject of multiple motions to dismiss. What the Court and Defendants
   6   did not know during all that myriad briefing that took great resources from the
   7   defendants and the Court between June 2018 and April 2019, however, was that the
   8   Copyright Office (CO) had already rejected on the merits the copyright application
   9   as early as June 2018. But Plaintiff told nobody. Instead, Plaintiff actively hid that
 10    merits rejection and knowingly continued to press its three copyright claims before
 11    this Court in multiple subsequent amended pleadings, motion filings, even in
 12    counsel declarations.
 13          This information did not come to light voluntarily either. When Defendants
 14    sought it from Plaintiff, Plaintiff flat refused to produce it, hiding its misdeeds.
 15    Defendant had to go to the CO and seek expedited materials from the government
 16    agency, at cost to everyone, to get this information. Only then did the curtain fall.
 17          This conduct, both the original acts and then the attempt to hide the acts,
 18    requires terminating and monetary sanctions under the Court’s inherent power;
 19    sanctions under 28 U.S.C. § 1927 and Rule 11; and fees should be awarded under
 20    the Copyright Act for the baseless copyright claim that, although eventually
 21    dismissed without prejudice due to what was then thought to be a standing issue (the
 22    certificate had not yet issued on a live pending application, all were led to believe by
 23    Plaintiff), now needs to be deemed dismissed with prejudice where Defendants are
 24    declared the prevailing party, with fees/costs to follow.
 25    II.   FACTS
 26          On April 9, 2018, Plaintiff pled three copyright claims on an alleged Google
 27    advertisement based on a copyright application filed with the Copyright Office,
 28    claiming it made a March 2018 application with the CO. Complaint ¶ 47. After a
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   1   meet and confer to address the copyright claims’ lack of specificity, a FAC was filed
   2   that was still deficient. Dkt#17. At the time, however, Plaintiff’s intentional
   3   opaqueness in identifying the actual copyrighted material, or attaching proof of
   4   application, led to a Rule 12 motion on the FAC, obviously because the idea that an
   5   advertisement has copyright protection (or that there is infringement if it does) is
   6   dubious and should be alleged fairly in a Complaint. Dkt#18.
   7         Unbeknownst to anyone but Plaintiff and its lawyers, the CO on June 29,
   8   2018 rejected that specific copyright application in the advertisement on the basis
   9   that it lacked originality (despite the very low bar). See Afrasiabi Decl. Exh. A.
 10    The CO sent the rejection to Plaintiff’s lawyer, counsel of record here. Id.
 11          Plaintiff then on July filed an opposition to the motion to dismiss the FAC,
 12    claiming that it had a copyright. Dkt#22.
 13          The Court granted in part the motion and told Plaintiff to amend. Dkt#24.
 14    Plaintiff then filed a SAC on 8/17/18 claiming copyright in the same ad. Dkt#26 ¶
 15    48-49. Another motion followed. Dkt#28.
 16          The Court again granted the motion and again told Plaintiff to plead properly.
 17    Dkt#31. So, Plaintiff then filed a TAC on 11/13/18 again alleging copyright in the
 18    same ad in three claims against all defendants. Dkt#32 47-48. Defendant again
 19    moved to dismiss, contending the work lacked originality and a copyright claim
 20    could not lie. Dkt#33. Even now on its fourth complaint, Plaintiff still failed to
 21    attach relevant material the Court had ordered and only subsequently filed a notice
 22    of its alleged copyright when the Court demanded it (again) at oral argument on
 23    February 4, 2019. Dkt#40.
 24          In that declaration, Plaintiff’s counsel again represented, now under penalty
 25    of perjury, that the copyright application was pending and wrote in the exhibit that
 26    the matter was the original expression. Dkt#40 ¶ 3 and Exh. A at p. 6.
 27          This Court, not aware of the agency (CO) conclusion of non-originality and
 28    conclusion that there was in fact no original expression present, allowed the
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   1   copyright claim to stand. Dkt#42 p.7.
   2          Then, due to the Supreme Court’s Fourth Estate v. Wall-Street.com LLC, 139
   3   S.Ct. 881 (2019), opinion rejecting copyright standing on filed applications and
   4   demanding issued registrations, which issued in March 2019, Defendant asked
   5   Plaintiff if the matter was pending or if an issued copyright certificate had arrived
   6   from the CO, and to dismiss if it had not yet arrived. Afrasiabi Decl. Exh. B (3/5/19
   7   email). Even there, plaintiff refused just to dismiss it as sought and tried to get
   8   immunity on fees (Id. Exh. C 3/18/19 email and attachment), with a good faith
   9   finding on the filing of its claim—the same claim it knew then had been rejected and
 10    was not even pending.
 11           Defendants refused such an overbroad stipulation and had to file a motion for
 12    judgment on the pleadings. Dkt#45. Plaintiff opposed. Dkt#46. The Court
 13    dismissed the copyright claim without prejudice under Fourth Estate.
 14           In discovery now, Defendants asked for the application and correspondence
 15    with the CO. But Plaintiff refused to produce it. Afrasiabi Decl. Exh. D (Request
 16    for Production 6-8 & Objections to RFP 6-8) & ¶ 5 (even after meet and confers,
 17    Plaintiff still refused to produce period).
 18           Defendants thus went to the CO on an expedited request to gather the
 19    information. The CO delivered its full official file, dated August 7, 2019, showing
 20    the March 2018 application and June 29, 2018 rejection. Afrasiabi Decl. Exh. A.
 21           Defense counsel thrice sought to meet and confer on this motion. All were
 22    ignored. Afrasiabi Decl. Exh E (three emails). This motion follows.
 23    III.   INHERENT POWER TO SANCTION, 28 U.S.C. § 1927 AND RULE 11
 24           Under Chambers v. NASCO, Inc., 501 U.S. 32, 42-44 (1991), this Court has
 25    the inherent power to sanction counsel and parties for litigation misconduct. That is
 26    this case. Under Section 1927, the Court also has the power to sanction counsel. 28
 27    U.S.C. § 1927. That is this case. Under Rule 11, the court has the power to patrol
 28    the bar and sanction counsel for pleadings that advance factual or legal theories that
                                             3
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   1   lack any basis. Fed. R. Civ. P. 11(c). That is this case. All three bases exist her and
   2   all should be found to have been violated, because the CO rejected even the
   3   existence of a copyright in the ad in June 2018; this was not discovered until August
   4   2019 when the CO, after request, gave its file on the copyright application at issue,
   5   lowering the curtain on what had happened in the prior year. All roads lead to
   6   Rome here, although any road alone suffices.
   7         A.     The Misconduct
   8         Here, to knowingly press on this Court and the defense a copyright claim
   9   when the Plaintiff knew the CO had rejected the ad as being even copyrightable
 10    subject matter is exactly the kind of improper vexatious behavior that justifies
 11    sanctions. Plaintiff did not just oppose one motion to dismiss at a time the CO’s
 12    mail may have inadvertently crossed with the filing (June 29 CO rejection and 7/2
 13    first opposition to MTD FAC). Even then, it would be improper not to alert the
 14    Court (or the defense) to the issue at some time before the Court heard oral
 15    argument and before Defendants spent money on a reply brief and oral argument
 16    preparation/attendance on that motion weeks later. Plaintiff of course didn’t do that.
 17          Rather, Plaintiff filed a SAC on August 17, 2018, signed by counsel, claiming
 18    copyright in the ad at issue. That was an act of affirmative misconduct that is
 19    unjustified. The CO had by then rejected the existence of copyrightable subject
 20    matter almost 2 months prior—on the exact basis being pressed by the defense no
 21    less—and Plaintiff doubled down and filed a lawsuit again claiming copyright in
 22    that which it then long knew was not copyrightable.
 23          And when faced with a renewed Rule 12 motion on the copyright claim,
 24    Plaintiff did not come clean and admit that there was relevant facts and law before
 25    the Court on the question—to wit, law of its case and res judicata from the CO on
 26    not just ads in general but this very ad at issue. See, e.g., United States v. Hall, 19
 27    Fed. Appx. 677 (9th Cir. 2001) (final agency decision given res judicata effect);
 28    DeNardo v. Johnsone, 772 F. Supp. 462, 468 (D. Alaska 1991) (final agency
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   1   adjudications are res judicata). That is, it’s one thing on a blank record to debate the
   2   extant law of copyrights in ads as applied to one’s facts. But it’s another thing
   3   entirely to have res judicata attach to your ad specifically as not being copyrightable
   4   and fail to tell the Court of that material fact to the case and material binding law on
   5   the exact question. Basic legal duties are to advise of known relevant facts and law.
   6   Cal. Rules of Prof. Conduct Rule 3.3(a)(1) & (a)(2) (Candor to Tribunal). Instead,
   7   Plaintiff fought to preserve its then-known-to-be-nonexistent copyright claims.
   8   Dkts#22, 26, 29, 31, 32, 34, 40, 41, 47, & 48.
   9         And despite this Court’s warnings, Plaintiff again pled in a SAC & TAC on
  10   August 17 and November 13, 2018 a copyright claim, again claiming copyright
  11   ownership in the ad and claiming infringement by the defendant. Dkt#26 & 32. By
  12   now, the CO had rejected the application five months earlier. No appeal had ever
  13   been taken. Yet the pleading was filed again in this Court to maintain the punitive
  14   leverage a copyright claim grants a plaintiff.
  15         Plaintiff’s counsel even represented, now under penalty of perjury in February
  16   2019, that the copyright application was pending and wrote in the exhibit that the
  17   matter was the original expression. Dkt#40, Sherman Decl. ¶ 3, Exh. A at 6. But
  18   that was false and had been held as such by the CO now almost nine months earlier.
  19         Plaintiff knows it has done wrong here. It hid this from the Court and the
  20   defense and insisted on this wasteful litigation campaign on known non-existent
  21   copyright claims. Then when the Fourth Estate decision came down, it tried to
  22   secure a “good faith” stipulation and avoid fees in its proposed dismissal stipulation.
  23   Afrasiabi Decl. ¶ C. It evaded discovery on the very issue by flat refusing to
  24   produce materials. Id. Exh. D & ¶ 5. It took the expedited request of the agency to
  25   actually learn of this state of affairs. That cover-up activity itself is wrong and
  26   compounds the situation here.
  27         This Court respectfully is asked to sanction Plaintiff and its lawyers with
  28   terminating (infra) and financial sanctions to compensate Defendants for the
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   1   unnecessary fees and expenses incurred fighting about an issue that should have
   2   been taken off the table by the Plaintiffs before even the first hearing on the first
   3   Rule 12 motion. This multiplication of the proceedings, and the unwillingness to be
   4   honest about the rejected copyright, is a threat to the integrity of the judicial process
   5   and certainly impugns the fairness of the system. The defendants cannot be asked to
   6   just suffer the expenses they incurred on some theory of washing away this kind of
   7   misconduct. And the Court should properly regulate the lawyers that appear before
   8   it and the bar should know that this conduct is not acceptable.
   9         B.     Inherent Power Applies
  10         NASCO allows the Court to use sanction powers to manage the proceedings
  11   before it and control the conduct of those who appear before the Court. 501 U.S. at
  12   43-44. Plaintiff invoked this Court’s federal jurisdiction under the Copyright Act
  13   (rather than go to state court on its myriad state common law claims and go to state
  14   court on its concurrent jurisdiction advertising claims). It invoked this forum
  15   because of the augmented expense and difficulty placed on defendants in federal vs
  16   state court, and/or the in terrorem nature of being sued in federal court versus state
  17   court. It then maintained its case here even after it had been unequivocally told it
  18   lacked a copyright claim by the CO, the very expert agency that is charged with
  19   deciding the propriety of copyright registration applications. This is critical because
  20   it is not a case of pressing an arguable but thin claim; it is a case of pressing a claim
  21   that has been affirmatively rejected by the expert agency (whose determination was
  22   not then challenged) and then hiding that fact so as to maintain a contrary action in a
  23   federal court, alleging three copyright claims against four defendants for nearly ten
  24   further months. The above is an abuse of the judicial process, and under NASCO
  25   warrants sanctions and fees/costs both against the party and counsel (even absent a
  26   basis for fees in the underlying substantive law). Id. at 45.
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   1         C.     Section 1927 Applies
   2         Section 1927 provides for sanctions where the misconduct has unreasonably
   3   and vexatiously multiplied the proceedings, especially where the facts and law as
   4   framed simply could never have stood. That is what happened here as outlined
   5   above, (1) from failing to tell the Court or defense of the CO’s rejection
   6   immediately, (2) from filing new complaints (SAC and TAC) as if there was still a
   7   pending CO application when it had been rejected and alleging that plaintiff
   8   authored an original work as pending in an application (SAC ¶ 48-49, TAC ¶ 47-48)
   9   when that was false—it had already been rejected so the allegation that a pending,
  10   possibly-viable copyright existed was itself false and the allegation of copyright
  11   authorship of anything was false, (3) from opposing motions to dismiss by arguing
  12   copyrightable subject matter when the law of the case/res judicata principles already
  13   indicated that this ad lacked copyrightable subject matter and so could not be
  14   pressed in a pleading on people (meaning there are misrepresentations of fact and
  15   law here), (4) to hiding the misconduct behind discovery objections, (5) to seeking
  16   to evade any exposure by seeking a “good faith” stipulation as a quid pro quo to
  17   dismiss the copyright claims, and (6) to even filing a declaration under penalty of
  18   perjury asserting a pending copyright application existed and contending original
  19   expression existed in the ad—the same original material that almost 7 months earlier
  20   had been deemed to not be original and not inhabit copyright law by the agency.
  21   This is classic Section 1927 material. See, e.g., Alvarado-Morales v. Digital Equip.
  22   Corp., 843 F.2d 6513 (1st Cir. 1988) (failure to withdraw a complaint when facts
  23   mad eclair claim could not stand are basis for sanctions); Beam v. IPCO Corp., 838
  24   F.2d 242 (7th Cir. 1988) (misrepresentations of controlling law that causes delay and
  25   multiples proceedings a basis for sanctions); DiBella v. Hopkins, 285 F. Supp. 2d
  26   394 (S.D.N.Y. 2003) (factual misrepresentations by redacting records to alter factual
  27   record justified sanctions); Hicks v. Arthur, 891 F. Supp. 213 (E.D. Pa. 1995)
  28   (overpleading a complaint can be basis). Sanctions should follow.
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   1         D.     Rule 11 Applies
   2         Rule 11 requires counsel not to sign pleadings with known false statements in
   3   them. Fed. R. Civ. P. 11(c). Here, the CO rejected the existence of a copyright in
   4   the ad in June 2018. See Afrasiabi Decl., Exh. A. Yet multiple complaints were
   5   then filed in August and November alleging not just a generic copyright claim, but
   6   specifically that this application was pending, and that the ad had original copyright-
   7   eligible, Plaintiff-authored subject matter in it. (SAC ¶ 48-49, TAC ¶ 47-48). But
   8   those allegations and statements were false in fact: there was no pending application
   9   as of June 29, 2018—the application had by then been rejected. Thus, the copyright
  10   claim could not be re-pled in the SAC or TAC in good faith by any stretch as a
  11   matter of fact. At the same time, the same arguments were strenuously made in
  12   pleadings and open court to justify the existence of this copyright claim. Dkt#22,
  13   26, 29, 31, 32, 34, 40, 41, 47, & 48. Those, too, could not be signed and filed
  14   (pleadings) in good faith. Nor could the allegations be maintained as a matter of law
  15   in good faith given the CO’s rejection, it was final (certainly when not challenged)
  16   and so res judicata attached. Plaintiff could not offensively plead a copyright in an
  17   ad that the CO – the expert agency in the first instance – has declared lacks
  18   copyright subject matter. That CO determination is binding on res judicata grounds.
  19   See supra (Hall, DeNardo). Preclusion aside, basic standing did not exist for the
  20   SAC or TAC: whether under the new or old standard (application or issued
  21   certificate, see Fourth Estate), at a minimum an actual application was required and
  22   as of June 29, 2018 even that no longer existed. Rule 11 also then requires sanctions
  23   here, and any safe harbor requirement under Rule 11(c)(2) must be waived because
  24   there are no pleadings left given the chicanery to even give counsel a chance to
  25   amend. (Alternatively, the Court’s inherent power under Rule 11(c)(3) has no 21-
  26   day requirement as in (b)(2) and should be exercised here.)
  27         Finally, Plaintiff has elected to demand litigation, has refused multiple
  28   requests to seek resolution to a case that by all outward appearances just reading the
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   1   pleadings is not really a situation suited for massive litigation, and is adamant about
   2   proceeding in litigation no matter what. Afrasiabi Decl. ¶ 7. A party of course has
   3   the right to never want to talk settlement; but in the context of pressing knowingly
   4   non-existence fake claims, the behavior is necessarily indicative of a desire to
   5   punish and financially bludgeon the new start competitor, which is a motive that in
   6   these circumstances is ill and earns appropriate sanction.
   7   IV.   THE DISMISSAL OF THE COPYRIGHT CLAIM WIHOUT
   8         PREJUDICE SHOULD BE CONVERTED TO WITH PREJUDICE
   9         AND FEES SHOULD BE AWARDED
  10         A.     Dismissal with Prejudice
  11         The extant dismissal without prejudice was premised on the idea that the
  12   copyright application as still percolating and had not yet issued and so, under the
  13   then-new decision of Fourth Estate there was technically not standing. Despite
  14   fighting over just agreeing to dismiss instead of just dismissing, this Court, on a
  15   motion for judgment on the pleadings that Defendants then had to file, dismissed the
  16   claim without prejudice. Dkt#52. Given the CO’s rejection of the application,
  17   hidden from the defense and the Court, the Court should now convert the dismissal
  18   of the copyright claim to one with prejudice. Had the Court been told the true facts,
  19   the dismissal would certainly have been with prejudice at the time. Plaintiff cannot
  20   commit what is a fraud on the court and defense and then benefit by it.
  21         B.     Defendants Prevailed
  22         Section 505 of Title 17 awards prevailing copyright defendants their fees and
  23   costs. 17 U.S.C. § 505. Here, there can be no doubt that Defendants prevailed. The
  24   CO claim lacked any merit whatsoever, was adjudicated as such by the CO, and that
  25   fact was then hidden from this Court by the Defendants. “Under the Copyright Act,
  26   the ‘prevailing party is one who succeeds on a significant issue in the litigation that
  27   achieves some of the benefits the party sought in bringing [or defending] suit.’”
  28   Florentine Art Studio, Inc. v. Vedet K. Corp., 891 F. Supp. 532, 541 (C.D. Cal.
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   1   1995) (quoting Warner Bros., Inc. v. Dae Rim Trading, Inc., 877 F.2d 1120, 1126
   2   (2d Cir. 1989)). This descends from the Supreme Court’s repeat stated principles.
   3   See Kirtsaeng v. John Wiley & Sons, Inc., 136 S.Ct. 1979 (2016); Fogerty v.
   4   Fantasy, Inc., 510 U.S. 517 (1994) (discretion in factors, case by case approach).
   5         One overarching principle is that “a court may not treat prevailing plaintiffs
   6   and prevailing defendants any differently; defendants should be ‘encouraged to
   7   litigate [meritorious copyright defenses] to the same extent that plaintiffs are
   8   encouraged to litigate meritorious claims of infringement.’” Fogerty, 510 U.S. at
   9   527; Kirtsaeng, 136 S.Ct. at 1985 (same).
  10         As set forth below, the non-exclusive factors identified by the Ninth Circuit:
  11   (1) the degree of success obtained by Defendants; (2) the objective reasonableness
  12   of Plaintiff’s factual and legal arguments; (3) Plaintiff’s motivation; and (4) the need
  13   for compensation and deterrence—support the conclusion that Defendants should be
  14   awarded the attorney’s fees and costs it incurred in defending itself against
  15   Plaintiff’s claim for copyright infringement. Entm’t Research Grp. Inc. v. Genesis
  16   Creative Group, Inc., 122 F.3d 1211, 1229 (9th Cir. 1997).
  17                1.     Degree of Success Obtained
  18         Defendants successfully demonstrated that there was no copyrightable subject
  19   matter in a Google ad. Accordingly, Defendants’ success in this action was total
  20   and complete. See Maljack Prods., Inc. v. GoodTimes Home Video Corp., 81 F.3d
  21   881, 890 (9th Cir. 1996) (finding award of attorney’s fees proper where defendant,
  22   for which summary judgment was granted, “obtained total success in defending
  23   against [plaintiff’s] copyright claims.”).
  24                2.     Objective Unreasonableness
  25         Plaintiff’s pursuit of its copyright infringement claim was objectively
  26   unreasonable because the facts showed that it lacked a copyright as of June 29,
  27   2018. Given that ruling by the CO, not challenged by Plaintiff, Plaintiff’s
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   1   subsequent pursuit of the copyright claim was objectively unreasonable, indeed
   2   outright frivolous.
   3                3.       Motivation
   4         Plaintiff s improper motivation is chiefly demonstrated by the disparity
   5   between the CO’s ruling and the facts then pled in this Court.
   6         It is further highlighted by the vitriol with which the claim was pursued:
   7   despite repeat requests to talk about the case and find a resolution given the thin
   8   copyright issues, Plaintiff opted to have no discourse at all. Afrasiabi Decl. ¶ 7.
   9         Defendants are non-native English speakers and were obviously petrified to
  10   be sued in federal court, as any defendant is. Plaintiff knew that, given their
  11   historical relationship, and knew that Defendants were a start-up with limited
  12   resources and so chose to bludgeon the Defendants in federal court, imposing the
  13   shock and awe factor that federal court litigation imposes on people as well as the
  14   always higher rates that are borne by federal defendants rather than state ones,
  15   especially given the specialized intellectual property arena (in lieu of a state action
  16   on the oral noncompete and fraud, traditional state claims that myriad general non-
  17   specialized lawyers litigate).
  18                4.       Compensation and Deterrence
  19         Plaintiff s decision to file and pursue this lawsuit was in disregard for the
  20   substantial expense that Plaintiff certainly knew would be incurred by Defendants in
  21   defending the unwarranted copyright claim. “Deterring non-meritorious lawsuits
  22   against defendants seen as having ‘deep pockets’ and compensating parties that
  23   must defend themselves against meritless claims are both laudable ends.” Scott v.
  24   Meyer, 2010 WL 2569286, at *3 (C.D. Cal. June 21, 2010). Without any financial
  25   consequences, there is nothing to discourage Plaintiff or others from similar misuse
  26   of the court system in the future. Indeed, in the absence of an award of fees and
  27   costs, Plaintiff will suffer no consequence—and Defendants will have been
  28   penalized to the tune of nearly one million dollars—as a result of Plaintiff’s decision
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   1   to file and pursue this unreasonable lawsuit without attempting to abide by the CO’s
   2   “meritless” determination. Thus, this factor weighs heavily in favor of a fee award.
   3                5.    A Fee Award Furthers the Interests of the Copyright Act
   4         The purpose of copyright protection is “to promote the creation and
   5   publication of free expression.” Eldred v. Ashcroft, 537 U.S. 186, 219 (2003); see
   6   also Feist Pubs., Inc. v. Rural Tel. Svc. Co., Inc., 499 U.S. 340, 344-45 (1991). As
   7   Fogerty explained, “copyright law ultimately serves the purpose of enriching the
   8   general public through access to creative works.” 510 U.S. at 527. And the
   9   copyright statute achieves that end by striking a balance between two subsidiary
  10   aims: encouraging and rewarding authors' creations while also enabling others to
  11   build on that work. Fogerty, 510 U.S. at 526. Thus, as held recently by the
  12   Supreme Court: “Accordingly, fee awards under § 505 should encourage the types
  13   of lawsuits that promote those purposes. (That is why, example, Fogerty insisted on
  14   treating prevailing plaintiffs and prevailing defendants alike—because the one could
  15   “further the policies of the Copyright Act every bit as much as” the other.” 136
  16   S.Ct. at 1986.
  17         Plaintiff’s case, had it succeeded in covering up the CO’s non-copyright
  18   determination, could have led to and stifled the rampant and creative free expression
  19   by Defendants, and even millions of others in their advertising efforts. Even if the
  20   matter were later rejected by a jury or judge at summary judgment, there still is
  21   staggering chilling effect on the free expression rights of Defendants to create and
  22   use ads in commerce.
  23         The Copyright Act is a brutal weapon with devastating remedies. Strict
  24   liability, and devoid of showing consumer consciousness or confusion (contra
  25   Lanham Act’s difficult consumer confusion standard), a party can prevail simply by
  26   showing substantial similarity: are the two ads similar? If the jury says yes, then the
  27   jury can literally destroy the defendants’ lives and business by concluding that the
  28   use of the ad was thus unlawful and give the defendants’ profits to the plaintiff or
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   1   the plaintiff’s lost sales to it. Copyright allows this happen irrespective of whether
   2   the ad was a draw to the consumer, and irrespective of whether the consumer
   3   thought the defendants’ ad was associated with plaintiff or was really the plaintiff’s
   4   work. That overarching nature of copyright alone has staggering legal and financial
   5   consequences, and is why it is such a potent tool in the litigation arsenal. In
   6   contrast, the Lanham Act will only allow a defendant to prevail where true
   7   consumer confusion is shown—not that the marks are similar but that consumers
   8   were in fact misled by a similarity—and then the far more stringent causation
   9   standards. That is why copyright has such an in terrorem effect, and that is also why
  10   it cannot be sanctioned to be used unlawfully as was done here—indeed, here
  11   Plaintiff fought to keep the in terrorem effect of three copyright claims over all the
  12   Defendants’ heads even when it knew the CO rejected the copyright precisely
  13   because the claim mattered a lot to Plaintiff’s leverage to bludgeon the defendants.
  14         Indeed, the Ninth Circuit has acknowledged that a successful defense of a
  15   copyright infringement action “may further the policies of the Copyright Act every
  16   bit as much as a successful prosecution of an infringement claim by the holder of a
  17   copyright.” Fogerty, 94 F.3d at 559. The Ninth Circuit has further recognized that
  18   one of the purposes of the Copyright Act is “to encourage defendants who seek to
  19   advance a variety of meritorious copyright defenses to litigate them to the same
  20   extent that plaintiffs are encouraged to litigate meritorious claims of infringement.”
  21   Id. at 557-58 (internal quotations and citation omitted). To allow such meritless
  22   claims to linger would undermine the Copyright Act’s goal of promoting “society’s .
  23   . . interest in the free flow of ideas, information and commerce.” Sony Corp. v.
  24   Universal City Studios, Inc., 464 U.S. 417, 429 (1984). Fees, thus, should follow.
  25                6.     Other factors
  26         As noted above, the factors are non-exhaustive. This Court should also
  27   engraft into its factors the bases for sanctions above. A party simply cannot use the
  28   Copyright Act is such an ill manner because advancing known bogus copyright
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   1   claims never serves the Copyright Act’s (1) balance between incenting creativity
   2   and building on others’ works, (2) its grant of jurisdiction to federal courts to
   3   adjudicate actual non-bogus controversies, or (3) its overarching structure of
   4   statutory damages and the substantial similarity test. The Copyright Act itself, by
   5   structure and definition, demands a basic level of adherence to its precepts before it
   6   is invoked to sue someone. This Court in practical effect is the only body able to
   7   patrol its use in any given case such as this one.
   8   V.    TERMINATING SANCTIONS SHOULD ISSUE
   9         The Court has inherent power to impose terminating sanctions “when a party
  10   has engaged deliberately in deceptive practices that undermine the integrity of
  11   judicial proceedings” because this power permits dismissal “when a party has
  12   willfully deceived the court and engaged in conduct utterly inconsistent with the
  13   orderly administration of justice.” Leon v. IDX Systems Corp., 464 F.3d 951, 958
  14   (9th Cir. 2006) (five-factor test using inherent power for terminating sanctions
  15   issues).
  16         This case has been litigated improperly in more respects than just the
  17   copyright issues here (infra), although those alone justify simply dismissing the
  18   entire action with prejudice as a terminating sanction. The courts and judicial
  19   jurisdiction should not be used as a waterboarding instrument where illegal tactics
  20   can just be employed willy-nilly. As shown above, this case involves exactly the
  21   Leon admonition regarding deceptive practices undermining the integrity of the
  22   judicial process where there is willful deception of the court. Willfulness, fault and
  23   bad faith all exist here. Id.
  24         Leon’s five factors all militate in favor of terminating sanctions:
  25         First, the public has an interest in expeditious litigation, but this case has been
  26   present now for over a year as multiple false copyright claims have been pushed on
  27   the court and parties in complaints, opposition briefs and even within counsel
  28   declarations. At the same time, not a single piece of paper has even been produced
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   1   by the Plaintiff in this litigation where it invoked the Court’s jurisdiction. Not one.
   2   No initial disclosure documents. No responsive RFP documents despite months of
   3   demanding them and months of promises they are forthcoming. See Afrasiabi Decl.
   4   ¶ 8 & Exh. G (emails repeatedly requesting the promised-to-be-produced
   5   documents). Plaintiff chose this strategy, and then chose to hide its misconduct so
   6   as to continue hold the copyrights claims over the Defendants and force them to
   7   settle with them in mind or go to the massively expensive MSJ route to try to get out
   8   (as well as having to litigate endlessly just to get documents), and it should pay the
   9   price for not litigating properly.
  10         Second, the court’s need to manage its docket tilts the same way: why should
  11   this plaintiff receive federal court solicitude and attention, repeatedly, for its
  12   “claims’ where other parties proceed honestly and diligently, especially where when
  13   asked for the CO information it adopted further obfuscation tactics? The quid pro
  14   quo for judicial attention must be a base level of integrity back.
  15         Third, there is no prejudice; the entire gravamen of the suit is copyright as
  16   alleged and it was an entirely false undertaking; and the remaining “trademark”
  17   claims are facially thin (one ad for a few days to justify federal litigation where
  18   there is no possibility of confusion given the complete difference in names of the
  19   parties and their products, even if a consumer clicked on the defendant’s self-
  20   named/identified ad), as is the idea that there is an oral noncompete between
  21   roommates in a home living situation. Plaintiff’s remedial issues, if any, lie
  22   elsewhere at this point, not at Defendants.
  23         Fourth, the merits were fabricated for a long time to burden a party, using the
  24   Court and federal jurisdiction to that end; any public policy interest in merits’
  25   resolution for a plaintiff on secondary claims who went to these lengths on the main
  26   claims would be to put the cart before the horse and bless misconduct.
  27         Fifth, while only issuing a monetary award is less draconian, it is always the
  28   case that there are less draconian remedies. The real issue is how can it be that
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   1   parties can engage in this behavior and simply be told to pay some money. Money
   2   does not cure this kind of systemic ill, the same way a robber cannot just return the
   3   stolen property and get a free pass and the same way we don’t just have our kids put
   4   cookies back in the jar when caught cookie in hand.
   5         Accordingly, terminating sanctions within the Court’s inherent power should
   6   attach. Id.; see also Stars' Desert Inn Hotel & Country Club, Inc. v. Hwang, 105
   7   F.3d 521, 525 (9th Cir. 1997); Pray v. M/Y No Bad Days, 303 Fed. Appx. 2008 (9th
   8   Cir. 2008) (“Willful disobedience of a court order may justify terminating
   9   sanctions.”). Indeed, this case transcends a willful disobedience of a court order; it
  10   involves willful secreting away of CO rulings so as to perpetrate a fake claim,
  11   unhindered by its factual falseness, in an action on Defendants and the Court, the
  12   complete functional equivalent of willful spoliation of evidence so as to avoid a
  13   claim or loss of a claim.
  14         But more exists to show the improper nature of the Plaintiff’s tack in this
  15   Court, all of which folds into the analysis within Leon.
  16         First, it has refused to even try to have a settlement discourse and instead
  17   opted for bludgeoning federal litigation. Afrasiabi Decl. ¶ 7. Now it’s one thing to
  18   want to litigate and even refuse to talk settlement; but it’s another to do that when
  19   one is to press knowingly false claims to bludgeon an upstart competitor. Using
  20   litigation to destroy nascent competition should be jealously guarded by the courts.
  21   Fake claims on fake facts cannot be a springboard for such actions. No explanation
  22   for this situation exists other than that Plaintiffs believed they could destroy the
  23   upstart competitor, still operating out of its home to try to survive.
  24         Second, there has been a constant unwillingness to even follow the rules—the
  25   meet and confer history on the MTD the pleadings all demonstrated constant
  26   refusals to meet and confer, ignoring requests, followed by claims that the
  27   defendants refused to meet and confer. The documentary evidence given the court
  28   on the motions’ declarations shows unequivocally that Plaintiffs just chose to ignore
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   1   basic rules and then have the chutzpah to blame the defendants. Despite being told
   2   to attach the actual alleged copyright application to a pleading repeatedly by the
   3   Court, they still refused to do so. We urge the court to revisit those declarations in
   4   the motions.
   5         Third, even now, despite promising to produce documents for the last three
   6   months, not a single piece of paper has been produced and the undersigned has had
   7   to threaten repeatedly motions to compel and now draft them to try to get
   8   compliance, which as it stands is still being told that documents are forthcoming.
   9   Afrasiabi Decl. ¶ 8.
  10         Fourth, at the same time, Plaintiff, having not produced one piece of paper in
  11   a case over a year old, served a depo notice out of the blue at midnight demanding a
  12   deposition one week later. Id. This is simply a pattern of abusive litigation
  13   gamesmanship that should be called for what it is.
  14         Terminating sanctions are understandably rare. But this case must surely be a
  15   rare case in the Court’s annals in terms of the sheer indifference to the facts and law,
  16   coupled with hyper-aggressive lawyering (lest there be a legitimate crisis in CD Cal
  17   in terms of lawyering).
  18   VI.   FEES AND COSTS AWARDS SHOULD ALSO ISSUE
  19         Lodestar amounts are appropriate in this context, especially where there is a
  20   need to deter and corral compliance with basic litigation norms. See LCS Group v.
  21   Shire LLC, 383 F. Supp. 3d 274 (S.D.N.Y. 2019).
  22         The undersigned firm expended 196.4 hours in the motions to dismiss and
  23   then discovery process that culminated in the agency process to get the relevant CO
  24   material. Afrasiabi Decl. ¶ 10-11. Defendant’s lead counsel’s customary billing
  25   rate is $550. That is a rate for IP litigation well within the norm for lawyers of the
  26   undersigned’s background and experience, as this Court certainly knows from fee
  27   motions it sees. Afrasiabi Decl. ¶ 9. And the hours are certainly highly reasonable.
  28   This number does not include September 2019. Id. ¶ 11.
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   1         Out of concern of this small group of defendants who do not even speak
   2   English with extreme fluency and who are under immense pressure in what facially
   3   appears an overly aggressive suit, the undersigned has not billed vast amounts of his
   4   time and acted to help the Defendants to try to allow the Defendants simply to
   5   survive the destruction of being sued in federal court. That should not inure to
   6   Plaintiff’s benefit, and those hours should be added. Afrasiabi Decl. ¶ 10.
   7         The fees and costs/expenses associated with the action amount to $51,722.80
   8   and are identified in more detail in the Declaration of Afrasiabi. Id. ¶ 9-12.
   9         Defendants lack the ability to quantify any additional sanctions payable to the
  10   Central District to compensate it for the wasted judicial, court staff, and law clerk
  11   time and taxpayer money (not to mention the CO that graciously did this expedited
  12   request at no additional charge), and other relevant court-centric issues, and so leave
  13   that to the Court to decide.
  14   VII. CONCLUSION
  15         This case justifies the remedy of terminating sanctions. It also justifies a fee
  16   award as sanctions, as well as an adjudication of prevailing party status in the
  17   copyright claims and a Copyright Act fee award also.
  18
  19   Dated: September 30, 2019               ONE LLP
  20
                                               By: /s/ Peter R. Afrasiabi
  21                                               Peter R. Afrasiabi
                                                   Attorney for Defendants,
  22                                               Woo Signatures, LLC, Tadeh
                                                   Booghosianssardabi, Farshid Karamzad
  23                                               Goflsaz, and Arash Sedighi
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